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FENNEMORE CRAIG, P.C.

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Atlorneysfor Deféndant Calvada Pclrmers, LLC

UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEVADA
BART STREET 1111 a Ncbraska Limited Casc No. 2117-cv-00083-G1\/1N-VC1"
Liability Company_.
Plaintii"l`.
V. DEFENDANT CALVADA PAR'|'NI€RS,
LL{."S SUP|’LEMICN'I` T()
ACC ENTERPRISES, LLC, a Nevada_;` l MOTION TO DISMISS

 

Lirnited Liability Company; ACC
INDUSTRIES, INC., a Nevada corporation;
CALVADA PARTNERS, LLC, a Nevada
Lirnited Liability Company,

Det`endants.

 

Defendant Calvada Partners, LLC (“Calvada”), by and through counsel, Fennemore Craig,
P.C., hereby submits its supplement to its motion to dismiss Plaintiff Bart Street 111’s (“Plaintifi"
or “Bart Street”) Complaint for lack of subject matter jurisdiction (“M`otion”) to be incorporated
in and considered part of the l\/lotion. /\ttached as Exhibit l to this Supplement is the
Supplemental l)eclaration of Howard Misle (“Misle Declaration”) in support oi` the I\/lotion. As
set forth in the Misle Declaration, defendants ACC lndustries, lnc., and ACC Enterprises, LLC
(“ACC Entities”) Will submit a motion to dismiss as well. 1n addition, as the Misle Declaration

makes clear, Calvada and the ACC Entities are engaged in the business of growing marijuana -

 

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which Bart Street knew all along - which is permissible under state law that has no federal
counterpart; accordingly, this case is more appropriately in state court. l\/loreover, Calvada and
the ACC Entities filed their complaint in State Court -~ where this matter should be tried »- on
December 14, 2016, well before Bart Street’s improper complaint was flled in federal court, and
Calvada and the ACC Entities plan to file a motion to dismiss based on the Colorado River
doctrine See Fidell's Holdl'ngs, LLC v Hcmd, l\lo. 2:15-CV-00147- GMN, 2015 WL 4997318, at
*2 (D. Nev. Aug. 19, 2015) (cl`ll`ng Colorado Rl'ver Wa¢‘er Conservation Dl'sl'. v. Um'ted Slclles, 42
U.S. 800, 817 (1976)).' Finally, as the Misle Declaration points out, it is clear Bart Street failed
to include a necessary party in this litigation, which would destroy diversity jurisdiction, and
which entity may have been Solutionary, lnc., and that Steve Idelman, the principal of Bart Street,
corresponded with Calvada and the ACC Entities with the signature block which included the
cmail address steveidchnan(i"t1.301utionzu‘v.cum. See Exhibit 2, hereto; l\/lisle Declaration at 11 13.

DATED this 2nd day of March, 2017.

FENNEM()RE CRAl(;, P.C.

    

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Las Vegas, NV 89101
Allorneysfor Deferzdcmts

 

l Calvada and the ACC Entities liled their First Amended Complaint in the state court action on
February 24, 2017.

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EXHIBIT l

EXHIBIT 1

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Attorneysfor Defendam‘ Calvada Parmers, LLC

 

UNITED STATES DISTRICT C()URT
DISTRICT ()F NEVADA

 

 

BART STREET 111, a Nebraska Limited Casc No. 2117-c\/-00083~Gl\/1N~VC}"
Liability Company,
Plaintiff,
v. SUPPIJEMENTAL DECLARATION OF
ll()WAl`{l) MlSLE IN SUPI‘()RT ()F
ACC ENTERPRISES, LLC, a Nevada MOTION TO l)lSl\/IISS

 

Limited Liability Company; ACC
INDUSTRIES, INC,, a Nevada corporation;
CALVADA PARTNERS, LLC, a Nevada
Limited Liability Company,

Defendants.

 

 

 

HOWARD MlSLE hereby declares as follows:

1. 1 arn a managing member of ACC Enterprises, LLC, and a director of ACC
lndustries, 1nc. (together with /\CC Enterprises, LLC referred to herein as the “A(YC Entities”).

2. 1 make this declaration based on my personal knowledge or upon my good faith

understanding and belief where stated.

3. The ACC Entities have not yet appeared in this action.
4. Defendant Calvada Partners", LLC (“Calvada”) has filed a motion to dismiss in this

action (“Motion”).

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5. l make this l)eclaration in support ofCalvada Partncrs. LLC’s l\/Iotion.

6. Because Calvada was served with the complaint before the ACC Entities, Calvada
was required to file its l\/lotion befoi"ei:the deadline for the ACC Entities to respond to the
Complaint. l

7. 'l`he ACC lintities will be filing a l\/lotion to dismiss along with Calvada and
requests that the Court hear all motions to dismiss at one time.

8. Calvada, along with the ACC Entities Enterprises, LLC and ACC lndustries, lnc.
(collectively “Defendants”), owns and operates a marijuana cultivation plant in Pahrump,
Nevada. ln order to fund operations of Defendants’ business, ACC lndustries entered into that
certain loan agreement with a lender Beverly Pacifle (“BP”) in the amount $2,000,000 on or
around l\/larch 15, 2016 (“l\/larch 2016 lloan").

9. Pursuant to the terms ot`the l\/lareh 2016 lioan. which is evidenced by that certain
promissory note of the same date, ACC lndustrics is required to repay the amounts received
pursuant to the l\/Iarch 2016 Loan on or;bet:og:e_`_§_ep`tember 15, 2017.

10. Beeause Defendants needed additional funding to grow their business, they entered
into negotiations with Steve ldelman, principal of Bart Street and, on information and belief,
believed to own or control Solutionary, for additional capital to fund Defendants’ Pahrump
business.

11. On information and belief, Steve ldelman (“ldelman”), the principal of Bart Street
is a friend of the family member of mine.

12. After substantial negotiation, Defendants and Bart Street entered into an agreement
pursuant to which Bart Street and ldelman’s Nevada entity, believed to possibly be Solutionary,
agreed to fund Defendants` business in the total principal amount of$‘),()00.000.

13. During the negotiations ldelman corresponded with us with a signature block

which included the email address sleve..i\`ielii|t;_iii-g;;. §.tri_i 1___1_@1)_.11_;_11'\-'£11111.
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14. Because recreational marijuana was not permitted in Nevada at the time of the
parties’ negotiations, and because the parties believed there was a substantial likelihood that
recreational marijuana would be approved in Nevada in November, 2016, the parties agreed that
Bart Street would lend Defendants $4,700,000 prior to the vote in Novernber, 2016 regarding
recreational marijuana and the remaining $4,300,000 would be provided in the form of equity
after the vote in November, 2016,' pi-'o\irided`§?th-`e ivotc approved the sale and distribution of
recreational marijuana in Nevada. Additionally, if the vote passed, it was also understood that the
loan of $4,700,000 would be converted into equity as well or at a minimum $1,300,000 for a total
of$6,000,000 in equity and $3,000,000 in loans.

15. On or around August 19. 2016, l)efendants ACC lndustrics, ACC linterpriscs, and
Defendant entered into that certain Promissory Note in Las Vegas, Nevada in the amount of
$3,500,000 (“August 2016 Note”). Pursuant to the terms of the August 2016 Note, the
outstanding principal amount of the note, together with all accrued interest, is due and payable on
September 1, 2017.

16. 1"Iowever. subsequent to the execution of the /\ugust 2016 Note, the parties agreed
that Defendants would instead convert BP’s debt to equity in the Ban Strcctt and would instead
use the $2,200,000 previously intendedjtojgp;a_y_';'§;<;,)_l`l§ Bl’. as working capital for the Defendants’
company. Bart Street and Solutionary were fully and completely informed of this modification to
the parties agreement and agreed, verbally and through email correspondence, to this ehangc.

17. Subsequcntly, in Novcmber, 2016, the use, production and distribution of
recreational marijuana was approved in Nevada. Pursuant to thc terms of the parties` agreement,
Defendants anticipated Bart Street and Solutionary] would provide the additional $4,300,000 in

funding to Defendants it was contractually obligated to provide. However, in violation of their

 

l Assuming that was the entity which was referenced by 1delman as being involved in the
transaction

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1 contractual agreement with Defendants, Bart Street and Solutionary have failed and refused to
2 provide said additional funding, to the detriment and damage of Defendants.

3 18. In addition, Calvada and the ACC Entities have filed a complaint against Bart
4 Street, III, LLC and Solutionary, lnc. A copy of the First Arnended Complaint is attached hereto
5 as Exhibit A.
6 19. The above Declaration is true and correct to the best of my knowledge and
7 belief under penalty of perjury of the laws of the State of Nevada.
8 DATED this 2*‘ day of March, 2017.

 

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/s/ Howard Misle
11 HowARD MISLE

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EXHIBIT A

EXHIBIT A

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FIFTH JUDICIAL DISTRICT COURT

NYE COUNTY, NEVADA
ACC INDUSTRIES, INC., a Nevada Case No.: CV38198
corporation; ACC ENTERPRISES, LLC a
Nevada`limited liability company; and Dept. No.: 2

CALVADA PARTNERS, LLC, a Nevada
limited liability company,

Plaintiffs, FIRST AMENDED COMPLAINT

v. [Exempt from Arbitratiou ~- Amount in
Controversy Exceeds $50,000]
BART STREET II, LLC, aNebraska limited "
liability company; SOLUTIONARY, INC., a
Nevada Corporation; DOE INDIVIDUALS
1-25 and ROE COMPANIES 26-.50,

 

Defendants.
For their Complaint against the Defendants, Plaintiffs ACC Industries, Inc., a Nevada

corporation (“ACC Industries”), ACC Enterprises, LLC, a Nevada limited liability company
(“ACC Enterprises”), and Calvada Partners, LLC, a Nevada limited liability company (“Calvada
Partners” and collectively with ACC Industries and ACC Enterprises referred to herein as

“Plaintiffs”), by and through their counsel of record, Fennemore Craig, P.C., hereby allege as

 

follows:
PARTIES, JURISDICTION AND VENUE
l. ACC Industries is a Nevada corporation and has its principal places of business in
Pahrump, Nevada.
2. ACC Enterprises is a Nevada limited liability company and has its principal places

of business in Pahrump, Nevada.

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3. Calvada Partners is a Nevada limited liability company and has its principal places
of business in Pahrump, Nevada.

4. On information and belief, Defendant Bart Street III, LLC (“Bart Street”) is a
Nebraska limited liability company with its principal place of business in Nebraska

5. On information and belief, Defendants Solutionary, Inc. (“Solutionary”), is a
Nevada corporation Bart Street and Solutionary shall be referred to herein as “Defendants”.

6. Plaintiffs do not know the true names and capacities of Defendants sued herein as
DOE DEFENDANTS 1-25, inclusive; and ROE COMPANIES 26-50, inclusive,_and therefore
sue these Defendants by such fictitious names. Plaintiffs are informed and believed, and
thereupon allege, that each of these so fictitiously named Defendants is responsible in some
manner for the allegations and damages set forth herein. Plaintiffs will amend or seek leave to
amend as necessary this Complaint when the true names and capacities of such Defendants are
ascertained

7. Venue and jurisdiction are appropriate in this Court pursuant to NRS 13.040 and

the amount in controversy exceeds the jurisdictional limit of this Court.

 

GENERAL ALLEGATIONS
8. Plaintiffs own and operate a marijuana cultivation plant in Pahrump, Nevada.
9. In order to fund operations of Plaintiffs’ business, ACC Industries entered into that

certain loan agreement with a lender Beverly Paciflc (“BP”) in the amount $2,000,000 on or
around March 15, 2016 (“March 2016 Loan”).

10. Pursuant to the terms of the March 2016 Loan, which is evidenced by that certain
promissory note of the same date, ACC lndustries is required to repay the amounts received
pursuant to the March 2016 Loan on September 15, 2017.

ll. Because Plaintiffs needed additional funding to grow their business, Plaintiffs
entered into negotiations with Bart Street for additional capital to fund their Pahrump business,

12. On information and belief, Steve 1delman (“Idelman”), the principal of Bart Street
is a friend of the family member of Howard Misle (“l\/Iisle”), the President of ACC Industries.

13. Because of the close relationship between Misle and 1delman, Plaintiffs had the

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right to expect trust and confidence in the integrity and fidelity of 1delman pursuant to the
resulting fiduciary relationship between Plaintiffs and Defendants

14. After substantial negotiation, Plaintiffs and Defendants entered into an agreement
pursuant to which Bart Street and a Nevada entity which he controlled or operated agreed to fund
Plaintiffs’ business in the total principal amount of $9,000,000.

15. While 1delman never mentioned the name of the Nevada entity that would be
participating in the parties’ agreement, on information and belief that entity may have been
Solutionary,

16. Because recreational marijuana was not permitted in Nevada at the time of the
paities’ negotiations, and because the parties believed there was a substantial likelihood that
recreational marijuana would be approved in Nevada in November, 2016, the parties agreed that
Bart Street would lend Plaintiffs $4,700,000 prior to the vote in November, 2016 regarding
recreational marijuana and the remaining $4,300,000 would be provided in the form of equity
after the vote in November, 2016, provided the vote approved the sale and distribution of
recreational marijuana in Nevada. Additionally, if the vote passed, it was also understood that the
loan of $4,700,000 would be converted into equity as well or at a minimum $1,300,000 for a total
of $6,000,000 in equity and $3,000,000 in loans.

17. On or around August 19, 2016, Plaintiffs ACC Industries, ACC Enterprises, and
Bart Street entered into that certain Promissory Note in Las Vegas, Nevada in the amount of
$3,500,000 (“August 2016 Note”). Pursuant to the terms of the August 2016 Note, Defendant
agreed to lend and Plaintiffs ACC Industries and ACC Enterprises agreed to boirow the sum of
$3,500,00 for use in their business. A copy of the August 2016 Note is attached hereto as Exhibit
1.

18. Pursuant to the terms of the August 2016 Note, the outstanding principal amount

of the note, together with all accrued interest, is due and payable on September 1, 2017. See

Exhibit 1 at 11 1.

19. Fuither, the only events which constitute default under the August 2016 Note as

provided in the note itself are failure to repay the note, Plaintiffs’ filing a petition in bankruptcy,

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or an involuntary bankruptcy petition filed against Plaintiffs. ld. at 11 5.

20. The August 2016 Note also provides that it shall be governed by and construed
under the laws of the State of Nevada. Id. at 1[ 9.

21. Pursuant to the terms of the August 2016 Note, Plaintiffs were originally planning
to use $2,200,000 of the August 2016 Note to pay off BP’s remaining debt.

22. I~Iowever, subsequent to the execution of the August 2016 Note, the parties agreed
that Plaintiffs would instead convert BP’s debt to equity in the Plaintiffs’ company, and would
instead use the $2,200,000 previously intended to pay off BP as working capital for the Plaintiffs’
company.

23. Defendants were fully and completely informed of this modification to the parties
agreement and agreed, verbally and through email correspondence, to this change.

24. On information and belief, Defendants knew or believed that this representation

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was false.

25. On information and belief, Defendants intended that Plaintiffs rely on Defendants’
false representations

26. Defendants intended to induce . Plaintiffs to act or refrain from acting upon
Defendants’ misrepresentations

27. Further, Plaintiffs did in fact justifiably rely on Defendants’ false representations
and converted BP’s debt to equity in Plaintiffs’ company so they could use the $2,200,000
previously intended to pay off BP as working capital for the Plaintiffs’ company,

28. On or around September 6, 2016, Plaintiffs and Bart Street entered into that certain
Promissory Note in Las Vegas, Nevada in the amount of $l,200,000 (“September 2016 Note”).
Pursuant to the terms of the September 2016 Note, Bart Street agreed to lend and Plaintiffs agreed
to borrow the sum of $l,200,000 for use in their business. A copy of the September 2016 Note is

attached hereto as Exhibit 2.

29. Pursuant to the terms of the September 2016 Note, the outstanding principal
amount of the note, together with all accrued interest, is due and payable on September 1, 2017.

See Exhibit 2 at ‘|j 1.

 

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30. Further, the only events which constitute default under the September 2016 Note
as provided in the note itself are failure to repay the note, Plaintiffs’ filing a petition in
bankruptcy, or an involuntary bankruptcy petition filed against Plaintiffs. Ia'. at 1[ 5.

31. The September 2016 Note also provides that it shall be governed by and construed

under the laws of the State of Nevada. Id. at 11 9.

32. Subsequently, in November, 2016, the use, production and distribution of
recreational marijuana was approved in Nevada.

33. Pursuant to the terms of the parties’ agreement, Plaintiffs anticipated Bart Street
and/or Solutionary would provide the additional $4,300,000 in funding to Plaintiffs they were
contractually obligated to provide. n

34.' However, in violation of their contractual agreement with Plaintiffs, Bart Street
and Solutionary have failed and refused to provide said additional funding, to the detriment and
damage of Plaintiffs.

35. Further, on information and belief, to avoid complying with their obligations
pursuant to the parti'es’ agreement, Bart Street and Solutionary have falsely alleged that Plaintiffs
have breached the notes and have further unlawfully demanded that the amounts owed be repaid
immediately, despite the fact that the notes are not yet due or payable and no breach of the notes
by Plaintiffs has occurred.

36. 34. On information and belief, Defendants knew or believed that this
representation was false.

37. Despite Plaintiffs’ attempts to resolve this matter, Defendants have failed and
refused to honor their obligations under the paities’ agreement and Plaintiffs have been required
to engage the services of an attorney to commence this action, and therefore is entitled to their
reasonable attorneys’ fees and costs incuired pursuant to applicable law.

FIRST CAUSE OF ACTION
(Breach of Contract)

38. Plaintiffs incorporate by reference all of the allegations contained in this

Complaint as though fully set foith herein.

 

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39. Plaintiffs and Defendants entered into that certain agreement, as set forth herein.

40. Defendants have breached their obligations under the agreement, as set forth
herein.

41. As a proximate cause of Defendants’ breaches, Plaintiffs have been damaged in an

amount in excess of 315,000.00, and on information and belief Plaintiffs’ damages include but are
not limited to the additional $4,3 00,000 in funding Defendants were contractually obligated to
provide as well as potentially in excess of $30,000,000 per year in lost profits and other general,
consequential, and other damages, all of which Plaintiffs'claim and are seeking in this lawsuit.
The exact amount of Plaintiffs’ damages will be determined at trial in this matter, as set forth
herein.

42. Despite Plaintiffs’ attempts to resolve this matter, Defendants have failed and
refused to honor its obligations under the parties’ agreement and Plaintiffs have been required to
engage the services of an attorney to commence this action, and therefore is entitled to their
reasonable attorneys’ fees and costs incurred pursuant to applicable law.

43. WHEREFORE Plaintiffs pray for relief as set forth herein.

SECOND CAUSE OF ACTION
(Breach of the Implied Covenant of Good Faith and Fair Dealing)

44. Plaintiffs incorporate by reference all of the allegations contained in this
Complaint as though fully set forth herein.

45. It is well settled in Nevada that “every contract imposes upon the contracting
parties the duty of good faith and fair dealing.” Hilton Hotels Corp. v. Butch Lewis Productions,
lnc., 109 Nev. 1043, 1046, 862 P.2d 1207, 1209 (1993).

46. Plaintiffs and Defendants entered into that certain agreement, as set forth herein.

47. Defendants owe Plaintiffs duties of good faith and fair dealing.

48. Plaintiffs have fully performed their obligations under the parties’ agreement, as
set forth herein.

49. Defendants have breached his obligations under the parties’ agreement, as set forth

herein.

 

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50. Plaintiffs’ justified expectations under the agreement were thus denied.

51. As a proximate cause of Defendants’ breaclies, Plaintiffs have been damaged in an
amount in excess of 815,000.00, and on information and belief Plaintiffs’ damages include but are
not limited to the additional $4,300,000 in funding Defendants were contractually obligated to
provide as well as potentially in excess of $30,000,000 per year in lost profits and other general,
consequential, and other damages, all of which Plaintiffs claim and are seeking in this lawsuit.
The exact amount of Plaintiffs’ damages will be determined at trial in this matter, as set forth
herein.

52. Despite Plaintiffs’ attempts to resolve this matter, Defendants have failed and
refused to honor its obligations under the paities’ agreement and Plaintiffs have been required to
engage the services of an attorney to commence this action, and therefore is entitled to their
reasonable attorneys’ fees and costs incurred pursuant to applicable law.

53. WHEREFORE Plaintiffs pray for relief as set forth herein.

THIRD CAUSE OF ACTION
(Breach of Fiduciary Duty)

54. Plaintiffs incorporate by reference all of the allegations contained in this
Complaint as though fully set forth herein.

55 . Defendants owed a fiduciaiy duty to Plaintiffs, as set forth herein.

56. Defendants breached that duty, as set forth herein.

57. Defendants are guilty of oppression, fraud or malice, express or implied, as set
forth herein.

5 8. As a proximate cause of Defendants’ breaches, Plaintiffs have been damaged in an
amount in excess of 815,000.00, and on information and belief Plaintiffs’ damages include but are
not limited to the additional $4,300,000 in funding Defendants were contractually obligated to
provide as well as potentially in excess of $30,000,000 per year in lost profits and other general,
consequential, and other damages, all of which Plaintiffs claim and are seeking in this lawsuit.

The exact amount of Plaintiffs’ damages will be determined at trial in this matter, as set forth

herein.

 

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59. Accordingly, because Defendants are guilty of oppression, fraud or malice, express
or iinplied, Plaintiffs are entitled to punitive damages, in addition to, without limitation, general
damages, compensatory damages, and lost profits, as set foith herein.

60. Despite Plaintiffs’ attempts to resolve this matter, Defendants have failed and
refused to honor their obligations under the parties’ agreement and Plaintiffs have been required
to engage the services of an attorney to commence this action, and therefore is entitled to their
reasonable attorneys’ fees and costs incurred pursuant to applicable law.

61. WHEREFORE Plaintiffs pray for relief as set forth herein.

FOURTH CAUSE OF ACTION
(Fraudulent or Intentional Misrepresentation)

62. Plaintiffs incorporate by reference all of the allegations contained in this

Complaint as though fully set forth herein.

63. Defendants made false representations, as set forth herein.

64. Defendants knew or believed that these representations were false, as set forth
hei'ein.

65. Defendants intended that Plaintiffs rely on Defendants’ false representations, as set
forth herein.

66. Defendants intended to induce Plaintiffs to act or refrain from acting upon
Defendants’ misrepresentations, as set forth herein.

67. Further, Plaintiffs did in fact justifiably rely on Defendants’ false representations
as set forth herein.

68. As a proximate cause of Defendants’ breaches, Plaintiffs have been damaged in an
amount in excess of 81 5,000.00, and on information and belief Plaintiffs’ damages include but are
not limited to the additional $4,300,000 in funding Defendants were contractually obligated to
provide as well as potentially in excess of $30,000,000 per year in lost profits and other general,
consequential, and other damages, all of which Plaintiffs claim and are seeking in this lawsuit.

The exact amount of Plaintiffs’ damages will be determined at trial in this matter, as set forth

lierein.

 

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69. Defendants are guilty of oppression, fraud or malice, express or implied, as set
forth herein.

70. Accordingly, because Defendants are guilty of oppression, fi'aud or malice, express
or implied, Plaintiffs are entitled to punitive damages, in addition to, without limitation, general
damages, compensatory damages, and lost profits, as set forth herein.

71. Despite Plaintiffs’ attempts to resolve this matter, Defendants have failed and
refused to honor their obligations under the parties’ agreement and Plaintiffs have been required
to engage the services of an attorney to commence this action, and therefore is entitled to their
reasonable attorneys’ fees and costs incurred pursuant to applicable law.

72. WHEREFORE Plaintiffs pray for relief as set forth herein.

FIFTH CAUSE oF ACTIoN
(Declarator'y and Injunctive Relief)

73. Plaintiffs incorporate by reference all of the allegations contained in this
Complaint as though fully set forth herein.

74. An actual, existing and justiciable controversy has arisen and exists between
Plaintiffs and Defendants, as set forth herein.

75 . Wherefore, Plaintiffs pray for declaratory and/or injunctive relief to be entered in
their favor and against Defendants pursuant to, among other law, NRS Chapter 30 for a judicial
determination and declaration including but not limited to the following:

i. That a valid agreement existed between Plaintiffs and Defendants, as set forth
herein.

ii. That Defendants were aware of, and consented to, Plaintiffs’ actions, including but
not limited to, regarding converting BP’s debt to equity, as set forth herein.

iii. That Defendants breached their agreement with Plaintiffs by failing to provide the
additional $4,300,000 after passage of the law approving recreational marijuana in
Nevada.

iv. Such other and further relief as the Court deems proper.

76. Despite Plaintiffs’ attempts to resolve this matter, Defendants have failed and

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refused to honor their obligations under the parties’ agreement and Plaintiffs have been required
to engage the services of an attorney to commence this action, and` therefore is entitled to their
reasonable attorneys’ fees and costs incurred pursuant to applicable law.

77. WI-IEREFORE Plaintiffs pray for relief as set forth herein.

SIXTH CAUSE OF ACTION
(Specific Performance)

78. Plaintiffs incorporate by reference all of the allegations contained in this
Complaint as though fully set forth herein.

79. Plaintiffs and Defendants entered into that certain agreement, as set forth herein.

80. Defendants have breached their obligations under the agreement, as set forth
herein.

81. Plaintiffs have standing and are entitled to specifically enforce the agreement
between Plaintiffs and Defendants, as set forth herein.

82. Plaintiffs have complied with all of their obligations under the parties’ agreement

83. Plaintiffs’ remedy at law is inadequate

84. Plaintiffs request that the Defendants’ obligations be specifically enforced, as set

forth herein.

85. Despite Plaintiffs’ attempts to resolve this matter, Defendants have failed and
refused to honor its obligations under the parties’ agreement and Plaintiffs have been required to
engage the services of an attorney to commence this action, and therefore is entitled to their
reasonable attorneys’ fees and costs incurred pursuant to applicable law.

86. WHEREFORE Plaintiffs pray for relief as set forth herein.

WHEREFORE, Plaintiffs, expressly reserving the right to amend this Complaint to insert
those paities, elements and items of damages as yet unascertained, or according to proof at trial,
respectfully prays for the following relief against Defendants as follows:

A. For judgment to be entered in its favor and against Defendants awarding damages,

including but not limited to, general, compensatory, and consequential, damages, including but

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not limited to lost profits, in excess of 815,000 and not less than the principal amount of
$4,300,000, the exact amount to be proven at trial;

B. F or punitive damages, as set forth herein;

C. For declaratory and/or injunctive relief to be entered in their favor and against
Defendants pursuant to, among other law, NRS Chapter 30 for a judicial determination and
declaration including but not limited to the following:

i. That a valid agreement existed between Plaintiffs and Defendants, as set forth
herein.

ii. That Defendants were aware of, and consented to, Plaintiffs’ actions, including but
not limited to, regarding converting BP’s debt to equity, as set forth herein.

iii. That Defendants breached their agreement with Plaintiffs by failing to provide the
additional $4,300,000 after passage of the law approving recreational marijuana in
Nevada.

iv. Such other and further relief as the Court deems proper.

D. F or specific performance of the paities’ agreement, as set forth herein;

E. For pre-judgment and post-judgment interest on all damage amounts awarded as

allowable under law or by virtue of the agreement at issue;

F. For an award of all reasonably expended attorneys’ fees and costs of suit; and
G. f"or such oth i' relief as the Court may deem just and proper.
DATED tlii day ofFebi'uary, 2017.

 

 

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ark A`.“i-_Iaw ring mar N6. 8490)
i'enocli W` lilin V BarNo. 10282 )
300 S Ful th Street, Suite 1400

Las Vegas, Nevada 89101
Altorneysfor Plainti]jfs

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EXHIBIT “1”

EXHIBIT “1”

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PROMISSORY NOTE

_Augusc 19, 2016

$3,500,000.00
lLas Vegas, Nevada

FOR_ V-A"LUE RECEIVBD,` ACC -INDUSTRIES; INC., a Nevada Corporation;_ and A‘CC
ENTERPRIS_ES; LLC,' a Nevada Limited f§inbility.` Compnny;i (botii herein collectively referred

- to as"-‘-i_§orrower"), promise'to'p'ay, to BARTSTREET 'III,_'L'LC._',:a Nebraska himitedifl-iiability,-

Gornpuny,-'or'_.its:.assigns' (“\Hojlde'r'?) 'tlie principal-sunr‘of".I-‘hree Million~~FlveiHundred 'I?ho_usand'
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Augi,:tst""l§,_,201"6 "111111"11'1"1511"10'10-'1_3 ittti§nd_ejd .tt_`) memorialize that inevious adverch mid- with the
premise t`o advairee the billahc`i:` referred-1710 herein _in- accordance wlth all of the terms_' and" `
previslepa herein prdtiitii=id-.-. EPhe'.- principal 0111'01`111`1: shall include ah amount of Twenty-Five~
Tlieuattn`d. and 00!100 Do_i_lsrs ($251000 00)10 be paid lto Hol"d`er i`n satisfaotlbn- of all due

 

 

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The final advances

 

. l releases and- nelcnewlulgrnents ef- iiil_i;_n_nd compfi,te payment as follows:-

$-’125', 000. 0_`.0 to B'orrowe"r_. irs Ciperating Gapitat;
$25,000; 00 t_o_ Holdei: a's‘ ldue diligence cest's; _
02 200 000. 00 111 aevaiy,t»neir's, r.Lc, `
$2'!-5,000.00 t__o. l'ns_lg_h_t.Medrca,__.LLC,
, _ `-$275§000;00-16~1111111611111,L-Lo;
Por a total'loan~amount of~$'3; 500, 000:00
1. llepnyment. .A`ll payments of interest and principal shall be in lawful money of the
Uiiitcd Statoe of A_meiien_. All =pnymcnls'_ shall be applied first to accrued interest, and thereafter

to principal The outstanding principal amount of this Note, together with all accrued ibte"rest-,
shall be due and payable on the September 1,2017 {tlie “Maturity Dote")_. _

2 Int'eroizt Rate. The Borrewer premises to pay simple interest on the advanced rmd
outstanding principal amount hereof from the effective date hereof until payment in full, which
interest shall accrue at the rate of (a) seven percent (7.%') per annum until paid Interest shall be
due and payable on the Maturlty Datc and shall be calculated on the basis of a 365- clay year for

the actual numbcr.- of~ days elapsed
3, Maturl_ty Unl'css this Note has been previously demanded` in accordance with the tenns

 

 

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of Scctlon l abovc,- the entire outstanding principal balance and ali unpaid accrued interest shall
become fully due and payable on the Maturlty -Date.

4.- P.rcp_aym'cn_t. 'Fhe Borrower shall have the right t_o prepay this No'.t`e and any accrued
interest due prior; to the. Matun'ty Date without the consent of the Holder and without payment ci' '

any prepayment pcn`alty.

S. Dcfault. If.-'.- there shall be any ev_'_'ent of default hercun_dcr, at the option and upon Wri_t_lcn
notice to the Borr'o,wer, this Note. shall accelerate and a[l. principal and unpald-. accrued 1 ' _
shall become due and:' _payable._ The occurrence of any one er more of the following shall
constitute rul e.`vent. of delliult:

  

  

.a. The _Borrowcr failsl to pay timely any ef: the principal amount due trade ~th`l 1152 ' ` '
on ._thc ilate'_ the a_a'tne__ becomes due and payable or any accrued interest br ot_lit`i`,-r'- 1111:1111111 '11__0',1__1,__`_. 3-
under this ‘;No‘te" ohitlie dct'e 1110 same becomes _du_e add payéble; `

 
  
   
   
 
   

.b_. _Th_o Bb)_'i‘ower `fil'es _any petition or- action for relief under any-banker y;_, "" `
reorganizationl insolvency or moratorium _l`r_tw or any other law“for the relief ' - '
_del)tora;- pow"cr hereailzer’inteft` " .'er makes any itas_lg:r_lment for the benefit o§crcdltere
any coraiirate 00110'11:`111-firrthcranqdfot`any-otime foregoing . ` -

 

_ c._ . An involuntary petition is iiich "a_gal_.ust_"the Borrower (ualess suchl
dismissed er-.'- discharged `i `-iilx' ' (_60) days< ` l`t'ti'
id`

_ e_tt`ce1,_
oftletal)'-is:appeinted to :'t__a'l_ce‘ pdssessl'o'n`,

  
  
   

 

  

_. p___ balance and counted mtcrcst hereunder 11111111 immediately b`c`ar liilcre_:it- t. _ "
maximum ratcl of interest allowable undch the law. ' _ ' »`

'r'. Walvcr,_: Prcsentrnont demand protest-,_ notices ot`- _-pr`otest-, dishonor an_`d'- hoopa
this 'Note and all‘ notices o`t' every itin_dtare hereby waived by_ gill parties to tl'li'__s. Nott_i', _ c
undersl‘gnod', principal',_ an`rcty-, guarantor or andersen except as provided herclh_. 'F.o_ ti_1_ 1
permitted 'by applicablel 'l`a'w, the defense of the statute of Iimltetlbns. is hereby walv“etl _ 1 " "'

undersigned

 
 
   
   

8. Expchacs. It` this Note or any installment of principal or interest »i's not paid whe"' dir _
whether,. at maturity-5 or 'by aecclcration, the Borrowcr promises to pay lall'- cos .
including without limitation, actual attorneysl fe.es, and all expenses in conoco
protection or realization of the collateral securing this Note or the enforcement of 1'
hereof incurred by the holder hereof ca account ot` such collectioa, whether or not suit-j
hereon or thercen; such costa and expenses shall, include, without limitation, all costs ex " `_ '
and attorneys' fees actually incurred by the holder hcrcof` m connection with any insolvency
baalm\ptoy, arrangement or other similar proceedings involving the untieraii;aed,_ or involving
any endorser or guarantor hereof which' 111 any way affects the exercise by the holder hereof o‘t'

 

 

 

 

 

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its rights and remedies under `thjs Note or- under uny- mortgagc, deed of tmst,.aecu_rlty ugrqqmcnl,
guaranty or other agreement aecurlng or pertaining th this Note, As usécl h.oreln, "ncruu'l.
uttoméya' feca-“ or "attorneys' fees actually incurrg>__cl-" nwuns‘.tho fdll 'rlnd' actual'cost.of':'nn)'»,l_-'lcg:_u_l- `
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.9. -G_ovcrhl`ng _Law. This Not`e:.'._s_luill be _g;)yerl;_p_£ij.l;y-anc_l construedundcr!hol£\ `-
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ACC'INDUSTRIES,_¢INC. and A"CC HN’I’ERI-"R'-.ISB-'S;LI_'E' ' __ . `
` Acc:nslzzus_.'r-MBS.,.INC.._

A.Nc“`;hl:_la~€dq)oratlon_ `

.........

By‘ Rl° 5"%'-*-"‘°1*-“*"“
Name:' Q;F; ' -_.._..'_‘- l

Title: C`@ lawn ¢\'G- z\==c-` PM\~l-»“~

 

ACC ENTERPRISES, LLC,

 

 

 

 

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l "No`t'e shall no_t operate to_1e1cashiany otho_t"p r_ty_

its rights and remedies under this Note or under any mortgagc, deed o'f trust, security agreement,

guaranty o_r other agreement seeming or pertaining to this Nots. -'As used herein, '-*aetual
attorneys fees!' or *'at_tomeys' fees actualiy__ ineutre_d?' means the fhll aa'd'. _-aotual cost o_f“'apy` legal
som'cos actually performed in connection with the_. matter foi‘ which 'a`uch fees are =501.`1_311_£
calculated on the basis of the usual fees charged by the attorneys gerfonniag» such settlie_es,'~ and
shall not be limited to "reasonabio attorneys' feas'.* as that term may b'e defined ln_ statutory or

decisional authority.

9.Gover1`nir`1g- Law. This Noto. shall be governed b_y and construed under the laws .o`f-. the
State _of Nevada, as applied_.' to_ ngt_e`crhents_ among'l‘~|‘ovada rosidbn'ta, r_na`<`l`e- and to- bob performed
entirely within t_ho _S_tat_e of Nevada, without giving offcot_- ta conflicts of-. laws 11rh_1_aiplcsl

 
 
    
 

10. Mo'c'llflcatl'o_n; .Walvc_x‘, N_o`_ slagl"o. or partitil» oxerclse_of arly; power harollodott
any mortgage, deed of tras`t;_ _seeurltg'_,'gtoemen `z"'rotltett till

 
 
 

 

   
 
    

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waivers of such ri_gl_tt or of- atty _o`th rlghilu_nr_l' ' oteri 'Ili'e release of»arnr pa'rt_y.__“

   
 

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due and payablethereonder shall not operate as a -wtiitter"- wl`th;` iespeet' '-to any

_' owing-natl unpaidl 1 _ 1--_ ‘- .'

 

 

Y_'P. ' _1
ACC li\iD.US'-I`RIES, lNC. and ACC EN'I?ERPRISES LLCi

ACC INBUSTRIES, INC.,
A‘ Nevada Cot`p'oratl'on '

By: -
Na`me: _ - n __ _
Tii:ie: n (C)_ i"\\°\\-'a€r{;`- 3439 Qé.~.wl\vpm_

 

 

ACC ENTERP-RISES, LLC,

 

 

 

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A Nevada,Linuted Liability Co'mpany_

 

 

 

 

 

 

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EXHIBIT “2”

EXHIBIT “2”

' principal The outstuurling,pr Eip:il Siiioim`t f"_
_ -- bc title and payable on September -`,'1\ '201¢7 ' (ihc_.,i “Matunty, ]',D.ut_e“),

Case 2:17-CV-00083-GI\/|N-VCF Document 21 Filed 03/02/17 Page 27 of 41

PROM]SSORY NOTE

$1,200,000.00 September 6,"2016

La's chas._Nevadh

`FOR VALUE R_ECE]VED,; ACC IND'USTR'IES; INC., 11" Nevada Corp.`orzit'ion; -ACC

EN_-'_l-‘E.RPR\lSES,_ LLC, a Nevada L'i_rnit_ed Liability Company; and Calvada P_énners-, LLC, a'

Nevada Limited Il',iabil_it`y Company_-(hll herein collectively-referred to us “Borrower'-')_', promise to

pay 10 1131-titus's."nz)ac',~r 1,1'1, I;Lc, a-.Nebra§k;a Limited-tuanityfcompany, or~its assign;s,~=(¢‘nolder:*)

the principal sum orr'on¢ M-tilio_n Two -H_undr__ed‘Thousandinnc-oolfioobouan (~$_`~.1_ 200100‘0:0&).).=

together with acct"ued and unpaid interest thereon, each `d`u'e- zind pay;ible on the date and m\th_e
manner s'e`t fo'tth below,_ in accordance with a'll_ of the~terms ~n_nd provisions herein provided. l

The advaiiue_s: under this. N_o'te' are outlmed herein zin'd zlr`e subject to. all formal releases _a`nd
acknowledgments o'f- _ftill `an'd complete payment as follows: l

.$500,000.00 to ti'c'quii"e Parcel"#@40-04\1-35 commonly known us 1~2_4'1 E'. .Giilittidtl

Blv'd`., Pahrump, I§T__j"e County. Nevada "
$700000 00 to \uequire P.n`r_e`el ' 041- 34', commonly known us 1_2'61 E. Calvada

  
 
 
  
 

 

 
 
  

_‘a`t_i nuclde shh`ll:. be 111. lawful money _
Ih 'appllcd\i'il‘t;t to accrued'- interest anillt_liet_‘caf _
tlii"s Notc,‘together with cill_- accrued interest tith`tt`ll-‘

  

 

and payable on the Maturity Dst_e and shall be calculated c__n the hasis of ':1_ 365 day -year- -for the
actual number :of- days elapsed

-3. Muturity~. Unlc_ss this Note has been previously demanded 111 accordunce with the terms of-

~_Secti`on l above, the entire outstanding principal balance and all unpaid accrued interest shall

become fully due and payable on the Maturity Date.

4. JPx"epiay`ment§ ThefB'o,trower s_hall have thc_,rig_ht to prepay this lI"iot`e_. and'. any l11'_1:::rued
intercst=due prior= to the Maturity Date without the consent ofl the H<'ildcr and widtout-.payuient'of

any prepayment pencity.

5. Det’ault. If there shall be any event of default hereunder,_ at the option and upon written
notice to the-Borrower, this Note shall accelerate and all principal and unpaid accrued interest shall

 

 

 

 

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become due and payable The occurrence of any one or inore of the following shall constitute an
event of default:

a. The Borrower fails to pay timely any of the principal amount due under this Note
on the date the same becomes due and payable or any accrued interest o`r other amounts due under
this Note on the date the same-1 becomes due and payable:

h. 'l`hc Botrowcr files any petition or- actio"n for relief under any biznl_<-t_’uptcy.'
reorganization hisolv`enc`y or moratorium law or any other law for the relief oi`-. or rci_ii_t_iiig t`o,-
debtors now o`r hereafter 111 effect or makes any assignment for the benefit -of creditors or ialt'e'_s
any corporate action in furtheiancc of any of the.`foregoing; ~ -

c. An involuntary petition is filed against the Borrower futilch such pctition'_ is _
dismissed or= discharged within sixty (60) days under any bankruptcy statute now or hereaitc'r_- -`in_ _
effect, or _-a custodian', r_c`ceivcr. trt`¢'stcc assignee for the benefit of creditors (_o_r- other Similsr
officiai_)` sit -appoii`itcjd.- to'- take possession, custody or control of any property of the" Borrower;‘or

   

6. D_e'f_'_o_ult Iuter.cst. The B_onower agrees that time is of the essence and titat= in thc-event
payment of principal tuiti- interest due under this Note is not made when duct the cuts j _
principal B"aian'ec and accrued interest l1c1_eundcr shall immediately ;'bea: inteiest at th . if 1 `
maximum rate of interest allowable under the law, '

-?. W`a`iv.er. Rresc_'ntment; demand protest noticesl 'of protest, dishonoi and nonpamtent Etiiisl` '

-Notc _'and '-all"tlotices-of eveiy kind arc.- -her_et_)_y waived by all parties -'t_o this l\l _e
nndersi ' fety.' y_gua_tant_or on endorser-, '-_excep't- as‘ provided herein l'lio

penni`_t_'t_cti -b_` applicable -'i`nw,-- the defense of the statute o'f. limitations is= hereby w_
undersigned

  
  
 
 
  
   

 

 

 

8. Exp'ei_tses. _If. thisl Note or` any installment of principal or interest is not p_ai
whether at maturity`or i_iy` ncccler'at_ion, the Borrowci' promises to pay 'nll costs
including without limitation, actual attomcys' fees. and all expenses in connect
protection or. realization of»_- thc- collateral securing thi_s Note or- the cn`forcemcnt. of'-,-
hereof incurred by the holder hereof on account o`f such collection,' whether or not "`s`u`_i
hereon orl _thc'rc'on; such costs and expenses shall incindc, without limitation, all-. costs
and attomeys‘ fees -'actui_illy incurred by the holder hereof`- 111 connection with any Jns_ol` .
bnul<`.t‘tn:\tcy.1 arrangement or other similar proceedings involving the undersigned or inv _ y
endorser or guarantor herco"f, wlilch' m any way affects the exercise by th"e' hol'déI"= hereo£ cf its
rights and remedies under this Note or under any mortgngc_, deed of trust,. security .__ag_r_c_cmcn't'
guaranty or other agreement securing or pertaining to tliis- Note. As. used herein,' actuai_ attorneys
fees" or '.'_at_t_omey_s' fees actually incurred" means the full and actual cost 'of any legal services
actually performed 111 connection with the matter for which such fees are sought calculatetl__" ;Q1`11 the
basis of the usual fees charged by the attorneys performing such services, and shail`. not be limited-
to "reaso'nablc. a'ttomeys' fees" as that term may be defined 111 statutory or decisional authority..

9_ Governing Law. This Note shall be governed by and construed under the laws of-; the. _Sta'_te
of- Nevada. as applied to agreements among Nevada residents, made and to be performed entirely
within the State of Nevada, without giving effect to conflicts of laws principlcs.

   

 

1 H _

 

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.10. Modlficalibn; W'a_lver. No single or partial cxerci`s,‘e;of any power hereunder Q'_r;\t`inder¢ahy
mortgage, deed of trust, security agreement 'or other agreement securing thiS.Note shall preemth
other or further exercise thereof or the exercise of any other-. power No-delny-or'-;omi_ssiqn_::e;tjl_thc
part-of the holder hereof in exercising'any ri lg`ht heretthder shallqu:rnt_e.'ns-'h..Wniirer;r)i~’§nch-rig_ or
Of any other right under this_N"o'te. The release-of- any.-p,ztrty_ liable on.-tlris Note'shqllii-pOt-_.‘Qpe_ __,__t__o
release any_ other perty~'linble hereen. The acceptance ef'tmy_ timoth "clt.t'e',-andi..pnyzth!ezh'¢`:reixitdi£i‘-
shall not operate as aiwai`v_er with respect'te ajty other a'm_ei`lrl`_t th'ert'Qw_ing_.nnd.u'r_tp'i\ii;l'.

    

11. 'Asslgnment.‘-"[`his Note may -b_e-trahsferred only_"_t_tp_on'it_s sunen'dt:.r_.: to'll_l‘¢BOrrOWCl\'fOl‘
registratii:)lt-o\°-` transfer, duly endorsed,- or'accompan`ied-.'ljy `t:t-t:lul_;,’l executed'.wri_`t_t_"c_:_rt=_,-lq`§tr`i)`h,t;rl_!_l "O_E

transfer in 1f`ttirrn s'i\tisfactor,y t'o tlte._Borrower. 'I’lt`t::reup`o'r_t,t this Ngte_$_hctll be relssued,,t ;

      
   
  

registered 'l'rs--.t_he name of._ the ertsferee, o"tj a-ne_w-'_NoteL-far-jllike£prltt_`g:lf§_al'iamo_l,;__r_tl_;’.tm tiritercs't;ib_l,`t_li_lli_ _
be issued't'<_),-and registered in.th'e_ name.o'f,"tlle transferee Thr'¢`:rc'.is"t`on'tf:firlheipnliéh `
tq,the=reg__i;stered.hol`der‘of-tliisch¢te. Such,payt`hat`t`t- shall-cdthittlte"-t`_t_)]`lf"di‘s'clt`o_rge.'
obligatio`:i.fo pay sueh,-i_n'tcrest and.-_pr-lneipa_l.

¢-.;tsm'¢;'y-*ou__tst'an'§_t_’h' 'pf_»t_nc‘ ""`l_'.'_-
_ ‘1.`¢1"=§!1_" " ` ` '
blis"ltf;tl_`t`s- _o_r 'Sl_t_fl`l_"t`ts:

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or-.interes`t d`u'e under*th'ié Note, at.t_he.-_o;'$tipm_t`_)l‘-"t}'\_e.Hel_c_li_¢r 'h"e_ ‘
RcHt§§l-:te_:_peniclpgte -und ~ ¢_litain 'ft,_\lty___\ pti__i_r_l_'.»g;`p_'_t_i_-__.-_n_c_),rt_;~_t§\'$_`:`s __
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AecEm:ERPmsESLLC _ .
A Nevada mrittted"L-inenityfe_rsfnpmy_

B'y_:..
Name:
Tit'le:

 

 

 

C.a`lvada Pmt.ners,.LLC,

 

 

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A Ne_vada_Lim'ited Liability C'ompan_y

By: r'?&>'<- "f='»Q-`\-»"`l"?-A(-‘L'

Name: @`>`: . Wl

 

Title: CO~H\¢,L,;Q;_,_,§ rpM,`_`_,m_

   

 

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EXHIBIT 2

EXHIBIT 2

Case 2:17-cv-00083-Gl\/|N-VCF Document 21

Re: ACG LA projections and ACC NV projections

Tuesdayl Ju|y12, 2016 7:27 Pl\/l
l\/lark as Unread

"Steven ldelman" <steveidelman@yahoo.com>
"peteseltzer" <petese|tzer@yahoo.com>

"Howard l\/lisle" <hmis|e@aol,com>
Thanks Pete, appreciated & will await the revised document

Best,
Steve

Steve |de|man
steveidelman@so|utionary.com
office phone 402 361 3005

\ cell phone: 402.600.5000

P|ease excuse typos
Sent from my iPad

Filed 03/02/17

On Ju| 12, 2016, at 6:58 Pl\/l, petese|tzer <peteseltzer@yahoo.com> wrote

Hi Steve

Page 32 of 41

From:

To:

Cc:

Ful| l-leaders Pr|ntab|e View

| arn at airport in \/egas heading back to la now. | was with howard today when you talked about the
proforma. l-lopefully you saw the attachment now for pahrump i did.

That being said, l must revise it tomorrow to include our vision of building out additional buildings and the

revenue from buildings D and E.

l will do that and the LA one and get to you no later than ?_A_ hrs | also will get you our Pahrump business
structure and all contracts tomorrow. lt is extensive and all lawyered up in final form. l

The business structure will be sent to you tomorrow as we||.
|Vly best

Pete

  

 

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Sent from my Verizon. Samsung Galaxy smartphone

-------- Original message --------

From: Steven |de|man <steveide|man@yahoo.com>
Date: 7/8/16 4:13 P|\/| (Gl\/|T-08:00)

To: Pete Seltzer <petese|tzer@yahoo.com>

Cc: hmisle@aol.corn

Subject: Re: ACG LA projections and ACC NV projections

Pete,

Thank you, no worries. Wi|| get back to you and Howard next week. Enjoy your rafting date & have a
great weekend

Howard, thanks again & you too have a great weekend

Steve |de|man
steveide|man@so|utionary.corn
office phone; 402.361.3005
cell phone: 402.680.5000
Please excuse typos

Sent from my iPad

> On Ju| 8, 2016, at 10:37 AlVl, Pete Seltzer <petese|tzer@yahoo.com> wrote:
>

> Steve

>

> sorry | didn't get you this last eve. l took my son to Breckenridge yesterday and our hotel business
center had the internet down all night

>

> Attached is LA building projections based on two rev streams

> 1. all flower at $2500lb based on 5 cycles = $20.4 mil annual Rev net after expected expenses with an
average of about $500|b

> 2. all B|unt Box at $68per box which is $13.6 per gram or $6,160|b. = $57.8 mil annual Rev net after
expected expenses with an avg. $500|b

>

> | based it on keeping rooms 2-5 single tiered and building out rooms 1, 6,7 and 8 double tiered. |fwe
retrospectively added double tiers too rooms 2~5 the_re'vs~ double in these rooms as well

> Calif has announced it will offer a 22,000Sq ft. indoor canopy license come 2018 should recreational
pass this Nov of 2016 VVe will be well within that 22,000sq ft. of canopy

> For ACC Enterprises in Pahrump l have attached our comprehensive plan involving all 3 buildings
> Attached is Pahrump buildings projections based on mu|ti rev streams

> 1. 10% equity in Bui|ding B skate zone which is at first rev in 2 weeks

> 2. 20% equity in Bui|ding C Sears building

> 3. 30% equity in Bui|ding A Furniture building

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> l based it current rate of $3200 lb. flower and went lower as completion ramps up in 2020. l also used
our same B|unt Box at $68per box which is $13.6 per gram or $6,160|b. = $57.8 mil annual Rev net after
expected expenses with an avg. $500lb

> ,
> l also used 70% of all sales being blunt which is obviously a guesstimate presently but we are the only
ones in the market out of 33 cultivators with this marketing strategy

>

> * Our Pahrump set up calls for l\/lisle, Seltzer and our main group to create a building management
company that manages all 3 buildings and gets 20% of net rev after expenses Your share would be

20% {Ca|vada management}

>

> * Our Pahrump set up calls for l\/lisle, Seltzer and our main group to create a building real est. company
that manages all 3 buildings and gets applicable market rent. Your share would be 20% {Ca|vada
Partners}

>

> * Our Pahrump set up calls for lVllsle, Seltzer and our main group to create a B|unt Box company that
manages all 3 buildings and gets applicable market price above and beyond going flower rate. Your share
would be 20%

>

> Thus you will get stated equity as listed in numbers 1-3 and also 20% of rent, management fees and
blunt box fees above the flower price

> {see brand lP Company P&L page} note this was all made in early 2016 so we are already past building
B build out phase , Your total revenues are actually-outiof.tota_l rev line with blunt sales so the possibilities

are vast.

> |f you have any questions or should we get to that point, | can provide ready-made legal contracts of
every building, real estate company, management co and any detail you need.

> Off to take my son rafting...
> Best
> Pete Seltzer

> <Copy of l\/laster Copy ofACG LA Analysls (1.7|b per light Ju 8 16).xlsx>
> <Project Green Pahrump Pro Forma Ana|ysis_v.07 (5.18.16) - ACC.xlsx>

 

  

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Re: court ruling supports marijuna today

Thursday,August18, 2016 4:24 Al\/l

From:
"Steven ldelman" <steveide|man@yahoo.com>
To:
"Pete Seltzer" <petese|tzer@yahoo.com>
Cc:

"Sean l\/lullen" <smullen@hancockdana.com> "hmis|e@ao|.com"
<hmis|e@aol.com> "stevenmarsh25@yahoo.com"

<stevenmarsh25@yahoo.com> "mark hawkins" <mhawkins@fclaw,com>

Awesomell!ll Tru|y excellent news,

Steve |de|man
steveidelman@so|utionary.com
office phone: 402.361.3005
cell phone: 402.680.5000

Please excuse typos
Sent from my iPad

> On Aug 17, 2016, at 11:48 Pl\/l, Pete Seltzer <petese|tzer@yahoo.com> wrote
> Gent|emen

> For the time being this is a major victor today for the medical marijuana community US Federal court
of Appeals ruled 3_0 that the federal gov't can't spend money to prosecute any individuals who are
compliant with the medicinal marijuana laws of states that permit medical marijuana growth and sales

> This means we are safe growing and selling in N\/, CA and 23 other states as long as we follow state
guidelines

> However, the court did say that if Congress initiates a change in it's opinion on this law, that it could
change in the future and once again allow the Federal gov't to spend money to prosecute even in the
states that have legalized it.

> That being said, they were covering the backsides. |n Nov it is expected as many as 8 more states will
pass legal medical marijuana and up the total to 33 and that 5 more will |ega|ize recreational Thus the
country is unlikely to go backwards but instead its likely if we have a democratic congress that federal
laws will continue to lessen and eventually it will be decrimina|ized federally too in the next 4 years.

Regards,
Pete

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Re: ACC update

Saturday, October 8, 2016 6:26 Al\/|

From:
"Sean l\/lullen" <smul|en@hancockdana.com>
TO:
"Pete Seltzer" <petese|tzer@yahoo.com>
Cc:

"Steven ldelman" <steveide|man@yahoo.com> "hmis|e@ao|.com"

<hmis|e@aol.com>
Ful| Headers Printable \/iew

Thanks for the update.
Let me know where we are on delivering the originals of the promissory notes

Sent from my iPhone

> On Oct 7, 2016, at 5:54 Pl\/l, Pete Seltzer <petese|tzer@yahoo.com> wrote:

> Steve/ Sean

> https://lasvegasweekly,com/news/QO16/sep/29/burning-questions-marijuana-question-.'Z~nevada/
> Burning questions: |f Question 2 passes, how might Nevada‘s marijuana landscape look’?

> On November 8, Nevadans will decide whether to legalize marijuana for recreational use. (The drug has
been legal for medicinal purposes since 2000I though the first regulated dispensaries didn't open here
until last year.) Debate continues over the merit of the recreational initiative-marijuana remains a
Schedule 1 drug at the federal leve|, and the DEA announced it would remain illegal for any purpose as
recently as August-but polling suggests Question 2 will pass ln Ju|y, a KTNV~TV 13 Action
News/Rasmussen poll had support at 50 percent, with 41 percent in opposition

>

> VVith those numbers shifting by September to 53-39 in favor, it seems likely Nevada will join Coloradol
Oregon, A|aska and Washington state in legalizing recreational marijuana VVhat. exactly, will that mean
on the ground? Some of it’s speculative at the moment, with the state legislature likely to work out details
in its upcoming sessions Sti|ll our reporters branched out to break down everything known and unknown,
for a primer we present here.

>

>

> Where will smoking be permitted'?

>

> On private property, including front and backyards, but no-go on sidewalks or in parks-for now.
Nevada State Sen, Tick Segerblom, who helped lay groundwork for the state's medical marijuana
conditions during the 2013 state legislative session, says Nevada’s “lenient" clean air regulations make it

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“uniquely qualified” to allow cannabis consumption in certain public spaces, and that he hopes to move
legislation to that end soon.

> Who will be able to purchase and smoke?

> Adults 21 and over with a valid U.S. |D or international passport verifying their age. As with alcohol, a
person’s criminal record won’t be considered "They just want to verify you're over 21 says Yes on 2
campaign spokesman Joe Brezny.

> Once legalized, how soon will marijuana become available for recreational use?

> l\/|uch as some might like to light up on November 9 (or, depending on the results of the presidential
race, need to), it will take some time for legal cannabis to become widely available in Nevada_perhaps
up to two years

> "What | imagine is going to happen is that, after the vote, this will go to a legislative session in the
spring," Bocskor says. “|t’s entirely possible that we could have regulations drafted and applications being
accepted by August.” Processing those applications will take time, as will setting up the businesses
stocking them with product and so on. The Nevada Legis|ature has very little room to hamstring
legalization, however: "They have to follow the will of the voters," Bocskor says

> V\/here will it be availab|e'?

> As it now stands, the Division of Public and Behavi`or'ail""l-lea|th regulates Nevada’s medical marijuana
dispensaries, while the Department of Taxation is set to regulate recreational marijuana_but that could
change “[Legalization is] a two-year process,” Segerblom says. "ln that time, we can change the law and
put the medical program under Taxation, so that the same people will be regulating both.”

>

> That means your local medical dispensary won’t suddenly begin selling recreational weed this winter
But once the dust settles and recreational licenses are made available current holders of medical
marijuana licenses will be the first invited to apply for them. They'll still need to go through "a competitive
licensing process," says Bocskor, who anticipates twice as many recreational licenses will be up for grabs
than medical marijuana licenses were put on offer several years ago.

> VVHAT DOES THlS ALL l\/lEAN:

> 1. expected to pass recreational Nov 8, 2016

> 2. anyone over 21 can purchase with a drivers license

> 3. by Aug 2017 applications will be excepted but current medicinal license holders will be first invited to
apply for recreational

> 4. will take months to process licenses and then set up businesses and get started Thus medicinal
cultivators wil lget big head start on new recreational license holders by several yrs.

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> On Thu, 10/6/16, Steven ldelman <steveide|man@yahoo.com> wrote:

> Subject: Re: ACC update

> To: "Pete Seltzer" <petese|tzer@yahoo.com>

> Cc: "Sean lV|ullen" <smullen@hancockdana.com>, "hmis|e@ao|.com" <hmis|e@ao|.com>
> Date: Thursday, October 6, 2016, 3:38 PlVl

>

> Thanks Pete...tru|y great news. Not much lon_ge__ til the vote t_ames place.
> , ;-»;`= Kil"\'.§"i""f._f"~ - r ""i `_,i_:. i'

> Steve |de|man

> steveidelman@so|utionary.com

> office phone: 402.361.3005

> cell phone: 402.680.5000

>

> Please excuse types Sent from my iPad

_..

>> On Oct 6, 2016l at

> 3:52 PlVl, Pete Seltzer <peteseltzer@yahoo.com>wrote:

>>

>> http://lasvegassun.com/news/2016/sep/30/po|l-nevade-voters-support-c|inton-gun-measure-and/
>>

>>

>> http://www.suffolk.edu/news/67667.php#.V_a5cfan6Y

>>

>>

>> Poll done 9/30/16 just 6 days ago

>>
>> shows support for legalization perhaps increasing i'n"NV

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Re: ACC update

Thursday, October 6. 2016 2:38 Pl\/l
lV|ark as Unread

"Steven ldelman" <steveide|man@yahoo.com>
"Pete Seltzer" <petese|tzer@yahoo.com>

"Sean lV|ullen" <smul|en@hancockdana.com>"='hmis|e@ao|.com"

<hmis|e@aol.com>

Thanks Pete...truly great news. Not much longer til the vote tames place.

   

Steve |de|man
steveidelman@solutionary.com
office phone: 402.361.3005
cell phone: 402.680.5000
Please excuse typos

Sent from my iPad

> On Oct 6, 2016, at 3:52 PlVl, Pete Seltzer <petese|tzer@yahoo.com> wrote;
>

Page 39 of 41

From:

To:

Cc:

Fu|l Headers Printabte V|ew

> http://lasvegassun.com/news/2016/sep/30/po||-nevada~voters-support-clinton-gun~measure-and/

>

>

> http://Www.suffolk.edu/news/67667.php#.V_aScfaQ|SY
>

>

> Poll done 9/30/16 just 6 days ago

>

> shows support for legalization perhaps increasing in NV

  

  

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Re: ACC update post election

Wednesday, November 9, 2016 8:20 Al\/|
l\/|ark as Unread

l

From:
‘ "Steven ldelman" <steveide|man@yahoo.com>
To:
"Pete Seltzer" <petese|tzer@yahoo.com>
Cc:

"hmis|e@ao|.com" <hmis|e@aol.com> "Sean lV|ullen"

<smullen@hancockdana.com>

Fu|| Headers Printab|e \/iew
Pete,

Thanks l understand Howard is out of the country so are you available for a quick call with rne
please? Shoot me your phone number and | will call you in a few minutes...just want to clarify something

Thanksl

Best,
Steve

Steve |de|man
steveidelman@so|utionary.corn
office phone: 402.361.3005
cell phone: 402.680.5000

Please excuse typos
Sent from my iPad

> On Nov 9, 2016, at 10:11 AlVl, Pete Seltzer <petese|tzer@yahoo com> wrote:

>

> Gentlemen

>

>

> l apologize for not being more available lately. l have had some awful kidney stones that started
several weeks ago and still are kicking my butt. We all have something in life that is our Achilles heel and
mine happens to be kidney stones about 2-3 times per year that often hospitalize me and certainly
debilitate me at the very least.

>

> That being said, l prepared two letters last week that would give a year in review / post election
synopsis of ACC and the projects l had our lawyer review both versions to make sure he was ok with
information being discussed

>

> Fortunate|y, the kick ass version will be what is released soon. As l am sure you know, the
Recreationa| legalization measure in NV passed overwhelmingly 54.1% - 45.9%. This was a surprisingly
large victory. This is indeed a game changer and puts many things into motion for ACC in 2017 - 2020 as

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no new competition will be available until spring 2020.
>

> l will send you the ACC |Vlanagement letter before the week is out once final editing is done
>

> Best Regards

>

>

> Pete

